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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA



Brock Fredin,                                )
                                             )    Civil Case No. 17-cv-3058 (SRN/HB)
                       Plaintiff,            )
                                             )
vs.                                          )
                                             )
Lindsey Middlecamp,                          )
                                             )
                      Defendant.             )


                          NOTICE OF WITHDRAWAL OF COUNSEL

        Pursuant to Rule 83.7 of the Local Rules for the United States District Court for the

District of Minnesota, Attorney Adam C. Ballinger respectfully submits notice of his

withdrawal as counsel for Defendant Lindsey Middlecamp. As of June 30, 2020, I am no

longer associated with the law firm of Ballard Spahr LLP. Attorney Jon K. Breyer of Kutak

Rock LLP, remains counsel of record for Defendant Lindsey Middlecamp in this matter.


                                           BALLARD SPAHR LLP

Dated: June 30, 2020                       By: /s/ Adam C. Ballinger
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